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KLESTADT WINTERS JURELLER                                                  Hearing Date: September 18, 2018
SOUTHARD & STEVENS, LLP                                                    Hearing Time: 10:00 a.m. (EST)
200 West 41st Street, 17th Floor
New York, New York 10036
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Tracy L. Klestadt
Fred Stevens
Brendan M. Scott

Counsel to Fred Stevens, Chapter 11 Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
In re                                                            :
                                                                 :               Chapter 11
EMC HOTELS AND RESORTS, LLC,                                     :
                                                                 :               Case No. 18-22932 (RDD)
                                             Debtor.             :
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     STATEMENT REGARDING CHAPTER 11 TRUSTEE’S REQUEST FOR (I) ENTRY
        OF THIRD INTERIM ORDER AUTHORIZING TRUSTEE’S USE OF CASH
            COLLATERAL, AND (II) ADJOURNMENT OF FINAL HEARING

TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:

              Fred Stevens, chapter 11 Trustee (the “Trustee”) of EMC Hotels and Resorts, LLC, the

above captioned debtor (the “Debtor”)1, hereby submits this statement in support of his request

(the “Request”) for entry of a third interim order (a “Third Interim Order”) (i) authorizing the

Trustee to use cash collateral in accordance with an approved budget; (ii) the continued grant of

adequate protection to Bank Hapoalim B.M., (“BHI”), the Debtor’s senior prepetition lender; and

(iii) adjourning the final hearing scheduled for September 18, 2018 at 10:00 a.m. (EST) (the

“Final Hearing”). In support of the Request, the Trustee respectfully refers to and incorporates

the contents of the declaration of Fred Stevens, pursuant to 28 U.S.C. §1746, dated August 10,


                                                            
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     The last four digits of the Debtor’s Federal Employer Identification Number are 0530.       

                      
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2018 (the “Stevens Declaration”), the motion, dated August 10, 2018 (the “Cash Collateral

Motion”) [Docket No. 44], seeking: inter alia, (i) entry of interim orders and a final order (a

“Final Order”) authorizing the Trustee to use cash collateral in accordance with an approved

budget, (ii) the continued grant of adequate protection to BHI, and (iii) a Final Hearing, and the

Court’s order, dated August 21, 2018 (the “Second Interim Order”) [Docket No. 58], granting the

Cash Collateral Motion in part, and further respectfully sets forth and states as follows:

                                          STATEMENT

       1.      Pursuant to the Second Interim Order, the Final Hearing on the Cash Collateral

Motion was scheduled for September 18, 2018 at 10:00 a.m. (EST). The Final Order was to and

will incorporate, among other things, certain milestones required by BHI mandating the

implementation of an expeditious exit strategy (the “Bankruptcy Milestones”), and a carve-out

required by the Trustee to protect him and his professionals (a “Carve-Out”). The Trustee’s

intent as set forth on the record of the prior hearing on the Cash Collateral Motion on August 17,

2018, was to negotiate the terms of a consensual Final Order with BHI, and to file that proposed

Final Order with the Court in advance of the Final Hearing so that parties could examine it and

file timely objections as appropriate.

       2.      In order to make an informed decision regarding appropriate Bankruptcy

Milestones and the Carve-Out, the Trustee requires guidance from a qualified broker regarding

the value of the Debtor’s assets and the time required to sell or restructure those assets. In that

regard, the Trustee has submitted requests for proposals to nine (9) different brokers and

requested that written proposals be submitted by 5:00 p.m. on September 12, 2018. That

deadline is being extended for approximately one week to allow the brokers to examine financial

information that was not previously available. The Trustee will then consult with BHI (and other

interested parties) in selecting an appropriate broker, subject to the approval of this Court, and

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establishing a sale or restructuring process designed to maximize value for all constituents as

quickly as possible. The Trustee needs a small amount of time to retain a broker so that the

Trustee can be guided by that professional’s advice in establishing appropriate Bankruptcy

Milestones, which will inform the Trustee in negotiating an appropriate Carve-Out (among other

possible terms for a Final Order). The Trustee and BHI are working cooperatively in this

process.

       3.      Accordingly, the Trustee respectfully requests the entry of a Third Interim Order

in a form substantially similar to that annexed hereto as Exhibit A, granting the continued use of

BHI’s cash collateral on identical terms to the Second Interim Order but with a revised budget,

and adjourning the Final Hearing to the Court’s earliest convenient date so that the parties have

an opportunity to negotiate an appropriate consensual Final Order. This request is made with

BHI’s consent. The Trustee has also discussed this request with counsel to the United States

Trustee who does not object to the brief extension, subject of course to reviewing the terms of

the Third Interim Order which she had not reviewed at the time of the discussion.

Dated: New York, New York
       September 14, 2018
                                                    KLESTADT WINTERS JURELLER
                                                    SOUTHARD & STEVENS, LLP


                                            By: /s/ Fred Stevens
                                                Tracy L. Klestadt
                                                Fred Stevens
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                                                    Counsel to Fred Stevens, Chapter 11 Trustee

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